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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE FOREIGN EXCHANGE BENCHMARK :                                 13 Civ. 7789 (LGS)
RATES ANTITRUST LITIGATION.                                  :
                                                             :          ORDER
                                                             :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on August 26, 2022, the parties filed their Daubert motions in anticipation

of trial. Defendants moved to exclude certain proposed testimony of Plaintiffs’ experts Dr. Hal

J. Singer and Eric Robin. Plaintiffs moved to exclude certain proposed testimony of Defendants’

experts Dr. Michael Melvin, Dr. Divya Mathur, Dr. Allan W. Kleidon and Professor Justin

McCrary. It is hereby

        ORDERED that Plaintiffs’ motion to exclude Professor McCrary’s testimony and part of

Dr. Kleidon’s testimony, discussed at §§ II.D and III of Plaintiffs’ memorandum of law, are

DENIED as moot in light of the parties’ resolution of those challenges. It is further

        ORDERED that Defendants’ motion is GRANTED only to the following extent and

otherwise is DENIED:

        •    Dr. Singer shall not interpret chats or opine on whether specific chats involve the
             sharing of price information among competitors, nor shall Dr. Singer read excessive
             numbers of chats into the record.

        •    Neither Dr. Singer nor Mr. Robin shall opine about guilty pleas or regulatory
             settlements.

        •    Dr. Singer shall not opine that the Conduct coefficient produced by his regression
             analysis measures the average difference in spreads between the entire conspiracy
             period and the post-conspiracy period he analyzed. Dr. Singer may, however, opine
             that his analysis measures the average difference in spreads between the second half
             of 2013 (the last six months of the alleged conspiracy period) and the first half of
             2014. Counsel may argue whatever reasonable inferences may be drawn from such
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           opinion. The parties may not directly or indirectly reference the Court’s ruling as the
           reason for Dr. Singer’s opinion being revised to comply with this Order. It is further

       ORDERED that Plaintiffs’ motion is DENIED, except that Dr. Kleidon shall not opine

on the sensitivity of Dr. Singer’s regression model to the inclusion of an additional control

variable for implied FX volatility.

       A short opinion explaining the foregoing rulings will be issued. The Clerk of Court is

respectfully directed to close the motions at Docket Numbers 1846 and 1855.

Dated: September 30, 2022
       New York, New York




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